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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL            §
LEAGUE PLAYERS’ CONCUSSION          §
LITIGATION                          §
___________________________________ §               No. 12-md-2323 (AB)
                                    §
                                    §                      MDL No. 2323
THIS DOCUMENT RELATES TO:           §
ALL ACTIONS                         §

          Memorandum in Support of The Alexander Objector’s
     Motion to Compel Compliance with Case Management Order No. 5

      In tandem with the Court’s September 11, 2017 Order (ECF No. 8367)
directing Co-Lead Class Counsel to submit certain information to assist the Court in
allocating attorney fees and expenses, the Alexander Objectors ask the Court to
compel all plaintiffs’ counsel who intend to seek attorneys’ fees and expense
reimbursements to file the Quarterly Reports contemplated by CMO 5, together with
the underlying Summary Time and Expense Report Forms. In support of their
motion, the Alexander Objectors respectfully show the following.
                          I. Summary of the Argument
      Five years ago, the Court established a fee and expense protocol that, inter
alia, set forth compensable categories of fees and expenses, required
contemporaneously record-keeping, and quarterly reports (“Summary Time and
Expense Reporting Form”) submitted to the Court. See ECF 3710, CMO 5. The
purpose of such a protocol, if not apparent on its face, was specifically articulated
by the Court. ECF 3710, p. `1 (to “guide the payment of fees and expenses to
attorneys performing common-benefit work” and “help ensure this matter is
efficiently prosecuted for the benefit of former-player plaintiffs without unnecessary
duplication or undue costs or fees). Now, the Court is faced with Co-Lead Class

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Counsel’s request for millions in fees and expenses1 and, because Co-Lead Class
Counsel has failed to file a single Summary Time and Expense Report Form in
support of that requires, the Court has no basis upon which to ensure Co-Lead Class
Counsel did, in fact, efficiently prosecute this matter for the benefit of former-player
plaintiffs without unnecessary duplication or undue costs or fees.
       CMO 5 was designed to ensure there would be integrity in the attorneys’ fee
process for the protection of the former players. Co-Lead Class Counsel has offered
no reason to abandon that goal. Therefore, in addition to the submission requested
by the Court on September 11, 2017 (ECF 8367), the Alexander Objectors ask the
Court to compel all counsel who intend to seek fees and expense reimbursement to
file the Quarterly Reports contemplated by CMO 5 for September and December,
2012, as well as the four Quarterly Reports for 2013, 2014, 2015, 2016, and 2017,
together with the underling Summary Time and Expense Report Forms.
                                       II. Argument
A.     The Court Ordered fee and expense details to be submitted every quarter
       beginning September, 2012.
       1.     CMO 5 is detailed and mandatory.
       The Court entered CMO 5 on September 10, 2012. In that ten-page Order,
the Court ORDERED that:
             Counsel shall submit time and expenses reports on a quarterly basis
              (quarters ending June 30, September 30, December 31, and March 31,
              ECF 3710, p. 2;

             Counsel are required to “maintain contemporaneous and detailed time
              and expenses records” on the Summary Time and Expense Report Form
              in Excel format per the attachment to the Order, id.; and
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  Class Counsel and the seventy-five attorneys they have designated to assist them seek $112.5
million in attorneys’ fees and reimbursement of costs and out-of-pocket expenses (almost
$107,000,000 of which is the attorneys’ fee request) plus an immediate “hold back” of 5%, (the
maximum allowed under the Settlement), of every award under this Settlement to pay their future
fees.



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            Counsel’s monthly time or expense report “shall be considered as
             representing to the Court, under oath, that the time and expenses
             submitted “meet the criteria” set forth in the Order, id.
      2.     The CMO 5 fee and expense criteria
      CMO 5 ordered, with respect to attorneys’ fees, that counsel segregate
attorneys’ fees hours into the following compensable categories:
            Pleadings, Motions, Briefs & Legal Research
            Preparing & Responding to Discovery Requests
            Factual Research and Analysis
            Document Analysis
            Depositions (including preparation)
            Officially-Called Meetings of Counsel
            Common Benefit Case Management
            Court Appearances
            Trial Preparation & Trial
            Appeals
            Settlement
Id., p. 3.   And, the Court ordered counsel to use the following form for its
submissions:




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Id., Attachment A.
       The Court also specifically itemized those time categories that were
noncompensable:
             Time billed for activities prior to the [1/27/12] formation of this MDL;
             Read and review time for persons not overseeing or directly
              participating in a project;
             Time spent creating and compiling the time and expense    reports
              outlined in these Time and Expense Reporting Guidelines2;
             Time related to litigation the claims of individual clients;
             Clerical time, including time spent preparing hearing or meeting
              notebooks, copying, filing, making travel arrangements or calendaring
              dates;
             Time billed by multiple people in the same firm, unless justified by the

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  Despite this directive, Class Counsel Dianne Nast submitted a request for fees describing as
services provided at $800 per hour, time entries for, among other services, precisely this
noncompensable service: “drafting and administering Case Management Order No. 5 re:
Submission of Plaintiffs’ Time and Expense Reports, including quarterly collection of reports.”
See Declaration of Class Counsel Dianne M. Nast (ECF NO. 7151-9, p. 2).



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                work that has been assigned to the firm in relation to the particular task;
               Time that was not authorized by the PEC;
               Time entries that are incomplete or provide insufficient detail;
               Time that is duplicative or excessive in relation to the work assigned;
               Time spent attending bar association and similar meetings;
Id., pp. 3-4.
       CMO 5 ordered, with respect to expenses, that counsel segregate expenses
into the following compensable categories:
               Assessments
               Commercial Copies
               Computerized Research
               Court Reporters/Transcripts
               Expert Services
               Facsimile
               Filing & Service Fees
               In-House Copies
               Long Distance Telephone
               Postage/Express Delivery
               Travel/Meals/Lodging
               Miscellaneous (Describe)
Id., pp. 4-5. And, by CMO 5, the Court ordered counsel to “keep receipts for all
expenses,” largely because the Order limited the reimbursement of, e.g. travel
expenses (first-class travel is not allowed); hotel (no dry cleaning or movies); and
meals (no alcohol). The Order also required counsel to use the following form for
its submissions:




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       Of equal importance, the Court ordered that certain expenses were non-
compensable:
               Expenses billed for activities prior to the [1/27/12] formation of this
                MDL;
               Case-specific expenses;
               Membership dues, seminars, group meetings and related costs
               Duplicative expenses
               Undocumented expenses;
               Expenses related to paying overtime wages; and
               Expenses related to non-compensable time.
Id., pp. 6-7.
       The Court appointed Alan B. Winikur to serve as an auditor “for periodic
review of time and expense reports.” Id., p. 9. The Court also directed that all
reports be submitted to “Diane Brown (dbrown@rodanast.com), with copies to



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Dianne M. Nast (dnast@rodanast.com), who, acting under the direction and
supervision of the PEC, shall maintain, periodically compile and submit such records
to the auditor appointed by this Order for review.” Id., p. 7.
      CMO 5 directed counsel to submit the first report on October 31, 2012,
covering time and expense entries “from the inception of the case through September
30, 2012.” (ECF 3710, CMO 5, p. 7). The Court gave Co-Lead Class Counsel two
extensions on the deadline to submit the initial reports. See ECF 4135 and 4143.
But, the Court has never vacated CMO 5.

B.    Before awarding fees or holding back any funds from Class Members to pay
      fees, the Court should enforce its Order for fee and expense data--
      contemporaneously maintained--under CMO 5.
      Through CMO 5, the Court established a record-keeping protocol. The Court
entered that Order because Co-Lead Class Counsel told the Court that it was
necessary to bring integrity to the process:
      Entry now of an Order establishing a protocol governing permissible
      common benefit time and expenses invested in this matter and requiring
      periodic reporting by plaintiffs’ counsel conducting such common-
      benefit work will help ensure only reasonable and necessary fees and
      costs inuring to the benefit of all plaintiffs are incurred. Establishing
      such guidelines early in the course of this litigation, even prior to the
      establishment of a Common Benefit Fund, if any, will help ensure that
      staffing levels for common-benefit work are appropriate and common-
      benefit time and expenses are reasonable, and will reduce the risk of
      later conflict over fees and expenses. See Manual for Complex
      Litigation (Fourth) §§14.212, 14.213 (2011). Further, imposing record-
      keeping procedures and requiring the submission of periodic reports
      “encourages lawyers to maintain records adequate for the Court’s
      purposes,” and facilitates Court review of later-submitted fee petitions,
      if any. See id. §§ 14.212–214.
ECF 3698, p. 3, ¶ 8 (emphasis supplied).
      Co-Lead Class Counsel was correct at that time. Detailed records maintained
in accordance with a protocol established early in an MDL are appropriate where a
Court must approve spending other people’s money. See e.g. In Re Diet Drugs, 582
F.3d 524, 533 (3d Cir. 2009) (setting forth a fee protocol that required time and


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expense records be submitted to an auditor who then reviewed those records for
compliance with Court-established criteria resulting in common benefit counsel’s
submission of       “verified copies of time records which were maintained
contemporaneously . . . throughout the litigation” resulting in a thirty-volume
compendium [ ] of fee presentations” ). The former NFL players and their families
deserve no less.
      Since the entry of CMO 5, Co-Lead Class Counsel should have submitted
more than twenty reports. Other than a single document, five years of filings in this
cause give no evidence that Co-Lead Class Counsel ever complied with CMO 5.
The one exception: Class Counsel Dianne M. Nast seeks a fee for, in part, “drafting
and administering Case Management Order No. 5 re: Submission of Plaintiffs’ Time
and Expense Reports, including quarterly collection of reports.” See Declaration of
Class Counsel Dianne M. Nast, ECF NO. 7151-9. Billing for the service, albeit
forbidden by CMO 5, implies that the reports have been compiled and submitted.
However, auditor Winikur has not filed a single report. Auditor Winikur has not
submitted a single bill.
      In short, the Court has now ordered Co-Lead Class Counsel to provide a
“detailed submission as a proposal for the allocation of lawyers’ fees.” ECF 8367.
Co-Lead Class Counsel was already required to maintain such detailed records from
which a proposal should be generated. The Alexander Objectors ask the Court to
compel Co-Lead Class Counsel—and all other counsel who intend to seek attorneys’
fees and expense reimbursements—to file the Monthly and/or Quarterly Reports
contemplated by CMO 5, together with the underlying Summary Time and Expense
Report Forms, as well any reports or audits prepared by or for Diane Brown, Dianne
M. Nast, or Alan B. Winikur or the firm Zelnick, Mann and Winikur PC pursuant to
CMO 5.



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Date: September 20, 2017                     Respectfully Submitted,

                                 /s/ Lance H. Lubel
Mickey Washington                Lance H. Lubel
Texas State Bar No.: 24039233    Texas State Bar No.: 12651125
WASHINGTON & ASSOCIATES, PLLC Adam Voyles
2019 Wichita Street              Texas State Bar No.: 24003121
Houston, Texas 77004             Justin R. Goodman
Telephone: (713) 225-1838        Texas State Bar No.: 24036660
Facsimile: (713) 225-1866        LUBEL VOYLES LLP
Email: mw@mickeywashington.com   675 Bering Dr., Suite 850
                                 Houston, TX 77057
James Carlos Canady              Telephone: (713) 284-5200
Texas State Bar No.: 24034357    Facsimile: (713) 284-5250
THE CANADY LAW FIRM              Email: lance@lubelvoyles.com
5020 Montrose Blvd., Suite 701   adam@lubelvoyles.com
Houston, TX 77006                jgoodman@lubelvoyles.com
Telephone: (832) 977-9136
Facsimile: (832) 714-0314
Email: ccanady@canadylawfirm.com

  Attorneys for Melvin Aldridge, Trevor Cobb, Jerry W. Davis, Michael Dumas,
   Corris Ervin, Robert Evans, Anthony Guillory, Wilmer K. Hicks, Jr., Richard
 Johnson, Ryan McCoy, Emanuel McNeil, Robert Pollard, Frankie Smith, Tyrone
             Smith, James A. Young Sr., and Baldwin Malcom Frank

                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of
record via the Court’s ECF system on September 20, 2017.

                                             /s/ Lance H. Lubel
                                             Lance H. Lubel




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